 

Case 2:06-cr-00223-PA Document 21 Filed 05/23/06 Page 1of1 Page ID #:6

UNITED STATES DISTRICT COURT =: SEND
CENTRAL DISTRICT OF CALIFORNIA .

CRIMINAL MINUTES - CHANGE OF PLEA f"

 

 

i
Case No.: CR 06-223 PA Date: May 23, 2006
PRESENT: HON. PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
C. Kevin Reddick Jennifer Cheshire None Ted Moreton
Deputy Clerk Court Reporter Interpreter Asst. U.S. Attorney
USA v. (DEFENDANTS PRESENT): ATTORNEYS PRESENT FOR DEFENDANTS:
(1) Marizol A. Roland (1) Ken Behzadi
X = Present Custody X Bond OR DFPD Xx_ Retained YX _ Present

PROCEEDINGS: CHANGE OF PLEA

ba Defendant moves to change her plea to the Single Count Information.

g Defendant now enters a new and different plea of guilty to the Single Count Information.

i The Court questions the defendant regarding her plea of guilty and finds that there is a factual
basis for the plea. The court also finds that the defendant entered her plea freely and voluntarily,
with a full understanding of the charges against him and the consequences of the plea. The court
finds that the defendant understands her constitutional and statutory rights and wishes to waive
them. Accordingly, the Court orders the plea 1s accepted and entered.

a Counsel are notified that Rule 32 of the Federal Rules of Criminal Procedure requires the parties
to notify the Probation Officer, and each other, of any objections to the Presentence Report within
fourteen (14) days of receipt. Alternatively, counsel may file such objections no later than twenty-
one (21) days before sentencing. The Court construes "objections" to include departure
arguments. Any party who intends to move for a continuance of the sentencing hearing shail, not
later than noon on the Tuesday preceding the hearing date, notify opposing counsel and the court
clerk. Strict compliance with these deadlines is mandatory because untimely filings interfere with
the abilities of the Probation Office and of the Court to prepare for sentencing. Failure to meet
these deadlines is grounds for sanctions.

® | The Court refers the defendant to the Probation Office for investigation and the preparation of a
presentence report. The matter is continued for sentencing to September 25, 2006, at 8:30 a.m.

cc: Probation DOCKETED ON CM !

PSA

  

 

 

 

 

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